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8                       UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA
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                                  )
11   BAHAMAS SURGERY CENTER, LLC, ) Case No. CV 14-8390 DMG (PLAx)
                                  )
12                    Plaintiff,  )
                                  ) JUDGMENT
13            v.                  )
                                  )
14   KIMBERLY-CLARK CORPORATION, )
                                  )
15   et. al.,                     )
                                  )
16                   Defendants.  )
                                  )
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1          This matter having come before the Court for a jury trial on March 28, 2017
2    through April 7, 2017 and a subsequent court trial [Doc. ## 517, 521], and the jury’s
3    verdict having been rendered on the jury trial [Doc. ## 501, 503] and this Court having
4    filed its Findings of Fact and Conclusions of Law as to the court trial [Doc. # 529],
5          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that judgment is
6    entered in favor of Plaintiff Bahamas Surgery Center, LLC and class members, and
7    against Defendants Kimberly-Clark Corporation and Halyard Health, Inc. in the
8    following amounts:      (1) $3,889,327 in compensatory damages, $1,062,391.75 in
9    prejudgment interest, and $350 million in punitive damages against Kimberly-Clark; and
10   (2) $261,445 in compensatory damages, $43,788.99 in prejudgment interest, and $100
11   million in punitive damages against Halyard Health.
12
13   DATED: May 15, 2017
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15                                                             DOLLY M. GEE
16                                                     UNITED STATES DISTRICT JUDGE
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